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   ln Re:Requestfrom BrazilPursuantto the Treaty                                                                                               -
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   Republic ofBrazilon M utualLegalA ssistance in
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                 A PPLICA TIO N FO R O RD ER PU RSUA N T TO TH E TREA TY
                    O N M U TUA L A SSISTA N CE IN CR IM IN A L M A TTER S
                   A ND TITLE 18.UN ITED STA TE S C O D E.SE CTIO N 3512

          The U nited States ofA m erica petitionsthis Courtforan order,pursuantto A rticle 1 of

   the Treaty Betw een the G ovelmm entofthe United StatesofAm elica and the G overnm entofthe

   Federative Republic ofBrazilon M utualLegalA ssistance in Crim inalM atters,l7.S.-Braz.,O ct.

   14,1997,S.TREATY DOC.NO.105-42(1998)(theTreaty),18U.S.C.j3512,andtheCourt's
   inherentautholity,appointing A ssistantU nited StatesA ttorney Jonathan D .Stratton,substitute,

   orsuccessorsubsequently designated by the O ftice ofthe U nited StatesA ttorney as

   Com m issioner. To collectevidence from w itnessesand to take such otheraction asisnecessary

   to execute the attached requestfrom the F'
                                            ederative Republic ofBrazilm ade pursuantto the

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Case 1:17-mc-22888-UU Document 1 Entered on FLSD Docket 08/01/2017 Page 2 of 2




          ln supportofthisApplication,the United Statesis subm itting the accom panying

   M em orandum ofLaw .

          The United Statesrespectfully requeststhatthe Courtgrantthis Application.

   proposed orderisbeing subm itted forthe Court's consideration.


                                              Respectfully subm itted,

                                              BEN JAM m G .GREEN BERG
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                                       By:                                          k
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                                              A istantUnited StatesAttorney
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                                              M iam i,FL 33132
                                             Tel.(305)961-9151
                                             jonathan.stratton@ usdoj.gov


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                      CERTIFY thatonJulyA           017,theforegoingdocumentw'
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   Courtunderseal.
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                                                                                &
                                             J athan D .Stratton
                                              ssistantU nited States Attorney




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